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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 Philadelphia Division


 IN RE:
 EDWIN VELAZQUEZ BORGOS and                              Case No. 22-13002-mdc
 MARYFLOR RIVAS-VELAZQUEZ
                                                         Chapter 13
 EDWIN VELAZQUEZ BORGOS AND
 MARYFLOR RIVAS-VELAZQUEZ,
      Movant

 vs.

 Nationstar Mortgage LLC,
        Respondent




 RESPONSE TO MOTION TO SELL REAL PROPERTY FREE AND CLEAR OF
                  LIENS AND ENCUMBRANCES

       Nationstar Mortgage LLC, (herein, “Respondent”) by and through undersigned

counsel, hereby responds to the Motion to Sell Real Property Free and Clear of Liens and

Encumbrances [Doc. 25] filed on May 2, 2023 and in support thereof, shows unto the

Court as follows:

       1.      Admitted

       2.      Admitted

       3.      Denied. By way of further answer, Respondent is without knowledge or

information to admit or deny this allegation. Strict proof is demanded at trial.

       4.      Admitted.

       5.      Admitted
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       6.         Denied. By way of further answer, Respondent is without knowledge or

information to admit or deny the allegation in Paragraph 6. Strict proof is demanded at trial.

       7.         Admitted. By way of further answer, the Payoff is currently $350,891.34 for the

first mortgage.

       8.         Denied.

       9.         Denied. By way of further answer, Respondent is without knowledge or

information to admit or deny the allegation in Paragraph 9. Strict proof is demanded at trial.

       WHEREFORE, Respondent respectfully requests that this Honorable Court deny

the Motion to Sell Real Property Free and Clear of Liens and Encumbrances and for any

other relief the Court deems just and proper.


       This the 9th day of May, 2023
                                                /s/Andrew Spivack
                                                Andrew Spivack, PA Bar No. 84439
                                                Matt Fissel, PA Bar No. 314567
                                                Mario Hanyon, PA Bar No. 203993
                                                Ryan Starks, PA Bar No. 330002
                                                Jay Jones, PA Bar No. 86657
                                                Attorney for Creditor
                                                BROCK & SCOTT, PLLC
                                                3825 Forrestgate Drive
                                                Winston Salem, NC 27103
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                               Philadelphia Division


 IN RE:
 EDWIN VELAZQUEZ BORGOS aka Edwin                       Case No. 22-13002-mdc
 Velazquez AND MARYFLOR
 RIVAS-VELAZQUEZ aka Mary F. Velazquez
                                                        Chapter 13
 Nationstar Mortgage LLC,
        Movant

 vs.

 EDWIN VELAZQUEZ BORGOS aka Edwin
 Velazquez AND MARYFLOR
 RIVAS-VELAZQUEZ aka Mary F. Velazquez,
       Debtors




                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Response to
Motion to Sell Real Property Free and Clear of Liens and Encumbrances has been electronically
served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

BRAD J. SADEK, Debtor's Attorney
1500 JFK Boulevard
Suite 220
Philadelphia, PA 19102
brad@sadeklaw.com


KENNETH E WEST, Bankruptcy Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

Office of United States Trustee, US Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
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Philadelphia, PA 19107


Via First Class Mail:

EDWIN VELAZQUEZ BORGOS
101 Osprey Way
Phoenixville, PA 19460

MARYFLOR RIVAS-VELAZQUEZ
101 Osprey Way
Phoenixville, PA 19460



Date: May 16, 2023
                                          /s/Andrew Spivack
                                          Andrew Spivack, PA Bar No. 84439
                                          Matt Fissel, PA Bar No. 314567
                                          Mario Hanyon, PA Bar No. 203993
                                          Ryan Starks, PA Bar No. 330002
                                          Jay Jones, PA Bar No. 86657
                                          Attorney for Creditor
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